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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

          Plaintiff,

 v.                                                Case No. CR-22-034-RAW

 SEAN PAUL BAKER,

          Defendant.



                                             ORDER

         The Defendant has been charged in this case with the sexual abuse of his step-daughter

D.P. He is specifically charged with two counts of aggravated sexual abuse in Indian Country on

or about February 6, 2015, in violation of 18 U.S.C. §§ 2241(c), 2246(2)(B) and (C), 1151, and

1153 before she had attained the age of 12 years, and one count of sexual abuse of a minor in

Indian Country on or about February 6, 2021, in violation of 18 U.S.C. §§ 2243(a), 2246(2)(D),

1151, and 1153 after she had attained the age of 12 years but before she had attained the age of

16 years.

         Now before the court is the Defendant’s motion in limine [Docket No. 40], the

Government’s combined response and notice of intent to admit Rule 404(b) evidence [Docket

No. 41], and the Defendant’s objection to the Government’s Rule 404(b) notice [Docket No. 43].

The Defense moves to preclude Rule 404(b) evidence, reputation testimony, questions asking

whether the Defendant or Defense witnesses are truthful or untruthful, and any other evidence

not timely provided in discovery.
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            In response to the Defendant’s motion, the Government filed its notice of intent to admit

evidence of other crimes, wrongs, or acts under Rule 404(b). Under Rule 404(b), “[e]vidence of

any other crime, wrong, or act is not admissible to prove a person’s character in order to show

that on a particular occasion the person acted in accordance with the character.” Fed. R. Evid.

404(b)(1). Nevertheless, “[t]his evidence may be admissible for another purpose, such as

proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake,

or lack of accident.” Fed. R. Evid. 404(b)(2). To determine whether such evidence is proper, the

court applies the four-part Huddleston test:

            (1) the evidence must be offered for a proper purpose; (2) the evidence must be relevant;
            (3) the trial court must make a Rule 403 determination of whether the probative value of
            the similar acts is substantially outweighed by its potential for unfair prejudice; and (4)
            pursuant to Fed. R. Evid. 105, the trial court shall, upon request, instruct the jury that
            evidence of similar acts is to be considered only for the proper purpose for which it was
            admitted.

United States v. Zamora, 222 F.3d 756, 762 (10th Cir. 2000) (citations omitted).

            The Government states that it intends to introduce evidence that the Defendant was

convicted of driving under the influence in August of 2012. The Government argues that since

D.P. is expected to testify that the Defendant becomes violent when drunk, this conviction is

probative to prove the Defendant’s intent, identity, absence of mistake, and/or lack of accident.

While arguably offered for a proper purpose and relevant, and while evidence of the Defendant’s

DUI may not be substantially outweighed by its potential for unfair prejudice, the court does not

believe that evidence of the Defendant’s DUI is necessary for the Government to prove its case.

At this time, the Defendant’s motion is granted as to the DUI. The Government may re-urge this

at trial.

            The Government also states that it intends to introduce testimony of D.P. that the

Defendant is violent, breaks walls, and throws things while drunk and argues that this testimony

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is admissible to prove the Defendant’s intent, identity, absence of mistake, and/or lack of

accident. The Government argues that this testimony relates to D.P.’s fear that the Defendant

would physically harm her if she were to disclose the abuse and is relevant to combat argument

by the defense about the delay in her disclosure. The court finds that evidence of the

Defendant’s violence while drunk in the presence of D.P. is offered for a proper purpose and is

relevant and that the probative value of the evidence is not substantially outweighed by its

potential for unfair prejudice. Of course, upon request, the court will instruct the jury that this

evidence is to be considered only for the proper purpose for which it was admitted and for no

other purpose. The Defendant’s motion is denied as to this evidence.

         As to the Defendant’s motion relating to reputation testimony, questions asking whether

the Defendant or Defense witnesses are truthful or untruthful, and any other evidence not timely

provided in discovery – the Government states that it does not intend to elicit reputation

testimony or to ask if witnesses are lying and that it has provided all discovery within its

possession to the Defense and will continue to comply should any new discovery become

available. The motion is moot as to these issues.

         The motion [Docket No. 40] is granted in part, denied in part, and moot in part as stated

above.

         IT IS SO ORDERED this 10th day of November, 2022.



                                               ______________________________________
                                               THE HONORABLE RONALD A. WHITE
                                               UNITED STATES DISTRICT JUDGE
                                               EASTERN DISTRICT OF OKLAHOMA




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